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U.S. Department of Justice

United States Attorney
District of New Jersey

970 Broad Street, 7 floor 978-645-2700
Newark, New Jersey 07102

TE/PL AGR

December 4, 2024

Roy B. Greenman, Esq.

Budin, Greenman & Greenman, Esqs.
1379 Morris Avenue

Union, NJ 07083

Re: Plea Agreement with Rahmir Gleaton

Dear Counsel:

This letter sets forth the plea agreement between your client, Christian
Gleaton (“Gleaton” or the “Defendant”), and the United States Attorney for the
District of New Jersey (“this Office”). This offer will expire on January 6, 2025,
if it is not accepted in writing by that date. If Gleaton does not accept this plea
agreement, his sentencing exposure could increase beyond what is discussed
in this plea agreement as a result of this Office’s investigation.

Charge

Conditioned on the understandings specified below, this Office will
accept a guilty plea from Gleaton to a one-count Information, which charges
Gleaton with firearms trafficking, in violation of 18 U.S.C. § 933(a)(1).

If Gleaton enters a guilty plea and is sentenced on this charge and
otherwise fully complies with this agreement, this Office will not initiate any
further criminal charges against Gleaton for, from in or around December 2023
through in or around March 2024, unlawfully possessing, shipping,
transporting, transferring, causing to be transported, or otherwise disposing of
firearms, or conspiring with others to do the same.

But if a guilty plea in this matter is not entered for any reason or a guilty
plea or judgment of conviction entered in accordance with this agreement does
not remain in full force and effect, this Office may reinstate any dismissed
charges and initiate any other charges against Gleaton even if the applicable
statute of limitations period for those charges expires after Gleaton signs this

agreement, and Gleaton agrees not to assert that any such charges are time-
barred.
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Sentencing

The violation of 18 U.S.C. §§ 933(a)(1) to which Gleaton agrees to plead
guilty in the Information carries a statutory maximum prison sentence of 15
years and a statutory maximum fine equal to the greatest of (1) $250,000, or
(2) twice the gross amount of any pecuniary gain that any persons derived from
the offense, or (3) twice the gross amount of any pecuniary loss sustained by
any victims of the offense. Fines imposed by the sentencing judge may be
subject to the payment of interest.

The sentence to be imposed upon Gleaton is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act,
18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration of the
United States Sentencing Guidelines. Those Guidelines are advisory, not
mandatory. The sentencing judge may impose any reasonable sentence up to
and including the statutory maximum term of imprisonment and the maximum
statutory fine. This Office cannot and does not make any representation or

promise as to what Guidelines range may be found by the sentencing judge, or
as to what sentence Gleaton ultimately will receive.

Further, in addition to imposing any other penalty on Gleaton, the
sentencing judge as part of the sentence:

(1) will order Gleaton to pay an assessment of $100 per count

pursuant to 18 U.S.C. § 3013, which assessment must be paid by
the date of sentencing;

(2) must order forfeiture, pursuant to 18 U.S.C. § 924(d) and 28
U.S.C. § 2461; and

(3) pursuant to 18 U.S.C. § 3583, may require Gleaton to serve a term
of supervised release of not more than three years, which will begin
at the expiration of any term of imprisonment imposed. Should
Gleaton be placed on a term of supervised release and
subsequently violate any of the conditions of supervised release
before the expiration of its term, Gleaton may be sentenced to not
more than two years’ imprisonment in addition to any prison term
previously imposed, regardless of the statutory maximum term of
imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be
sentenced to an additional term of supervised release.

Forfeiture

As part of his acceptance of responsibility, Gleaton agrees to forfeit to the
United States, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461, any

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firearms and ammunition involved in the commission of the offense charged in
the Information. Such property includes, but is not limited to, pursuant to 18
U.S.C. § 924(d) and 28 U.S.C. § 2461: (1) a Keltec P11 9mm pistol bearing
serial number AGYS5S loaded with 14 rounds of ammunition; (2) a Taurus
model G2C 9mm pistol bearing serial TMT31937 loaded with twelve rounds of
ammunition; (3) a Hi-Point model C9 9mm firearm bearing serial number
P1966900 loaded with five rounds of 9mm ammunition; (4) a SCCY CPX-1
9mm pistol bearing serial number 764183; (5) a Kel-tec Sub-2000 9mm rifle
bearing serial number FFKZ82; (6) a Hi-Point model C-9 9mm firearm with an
obliterated serial number loaded with six rounds of ammunition; (7) a Rossi .38
Special revolver bearing serial number D343698 loaded with five rounds of
ammunition; and (8) a Taurus .38 Special revolver bearing serial number
E184956 loaded with five rounds of ammunition, (the “Forfeitable Property”),

which Gleaton acknowledges were involved in the commission of a knowing
violation of 18 U.S.C. § 933(a)(1).

Gleaton waives the requirements of Rules 32.2 and 43(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of

the forfeiture in the judgment. Pursuant to Rule 32.2(b)(4) of the Federal Rules
of Criminal Procedure, the defendant consents to the entry of an order of

forfeiture that, in the Office’s discretion, may be final as to the defendant prior
to the defendant’s sentencing. Gleaton understands that criminal forfeiture
pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461 (c) is part of the
sentence that may be imposed in this case and waives any failure by the court
to advise him of this pursuant to Rule 11(b)(1)(J) of the Federal Rules of
Criminal Procedure at the guilty plea proceeding. It is further understood that
any forfeiture of Gleaton’s assets shall not be treated as satisfaction of any fine,
restitution, cost of imprisonment, or any other penalty the Court may impose
upon him in addition to forfeiture. Gleaton waives any and all constitutional,
statutory, and other challenges to the forfeiture on any and all grounds,

including that the forfeiture constitutes an excessive fine or punishment under
the Eighth Amendment.

Gleaton also consents to the administrative and/or civil judicial forfeiture
of the Forfeitable Property pursuant to 18 U.S.C. § 984. Gleaton agrees that he
will not file a claim or a petition for remission or mitigation in any forfeiture
proceeding involving the Forfeitable Property and will not cause or assist
anyone else in doing so. To the extent Gleaton has filed a claim or petition in
any administrative or civil judicial forfeiture proceeding involving the
Forfeitable Property, such claims or petitions are hereby deemed withdrawn.
Gleaton further agrees to take all necessary steps to pass clear title to the
Forfeitable Property to the United States, including, but not limited to, the

surrender of such property to the United States, its agent, or designee, and the
execution of all necessary documentation.

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Gleaton further consents and agrees to forfeit and abandon to federal,
state, and/or local law enforcement all of his right, title, and interest in the
Forfeitable Property; waives all challenges of any kind to the forfeiture and
abandonment of this property by federal, state, and/or local law enforcement;
waives any additional notice requirement in connection with the forfeiture
and/or abandonment of this property; and consents to the destruction of the

forfeited and/or abandoned property at the discretion of federal, state, and/or
local law enforcement.

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office may take any
position with respect to the appropriate sentence to be imposed on Gleaton by
the sentencing judge. This Office may also correct any misstatements relating
to the sentencing proceedings and provide the sentencing judge and the United
States Probation Office all law and information relevant to sentencing,
favorable or otherwise. And this Office may inform the sentencing judge and
the United States Probation Office of: (1) this agreement; and (2) the full nature

and extent of Gleaton’s activities and relevant conduct with respect to this
case.

Stipulations

This Office and Gleaton will stipulate at sentencing to the statements set
forth in the attached Schedule A, which is part of this plea agreement. Both
parties understand that the sentencing judge and the United States Probation
Office are not bound by those stipulations and may make independent factual
findings and may reject any or all of the parties’ stipulations. Nor do these
stipulations restrict the parties’ rights to respond to questions from the Court
and to correct misinformation that has been provided to the Court.

This agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this
agreement. Thus, if this Office obtains or receives additional evidence or
information prior to sentencing that it believes materially conflicts with a
Schedule A stipulation, that stipulation shall no longer bind this Office. A
determination that a Schedule A stipulation is not binding shall not release the

parties from any other portion of this agreement, including any other Schedule
A stipulation.

If the sentencing court rejects a Schedule A stipulation, both parties
reserve the right to argue on appeal or at post-sentencing proceedings that the
sentencing court did so properly. Finally, to the extent that the parties do not
stipulate to a particular fact or legal conclusion in this agreement, each

reserves the right to argue how that fact or conclusion should affect the
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Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and Gleaton waive certain rights to
file an appeal, collateral attack, writ, or motion after sentencing, including but

not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. §
2255.

Immigration Consequences

Gleaton understands that, if Gleaton is not a citizen of the United States,
Gleaton’s guilty plea to the charged offense will likely result in Gleaton being
subject to immigration proceedings and removed from the United States by
making Gleaton deportable, excludable, or inadmissible, or ending Gleaton’s
naturalization. Gleaton understands that the immigration consequences of this
plea will be imposed in a separate proceeding before the immigration
authorities. Gleaton wants and agrees to plead guilty to the charged offense
regardless of any immigration consequences of this plea, even if this plea will
cause Gleaton’s removal from the United States. Gleaton understands that
Gleaton is bound by this guilty plea regardless of any immigration
consequences. Accordingly, Gleaton waives any right to challenge the guilty
plea, sentence, or both based on any immigration consequences. Gleaton also
agrees not to seek to withdraw this guilty plea, or to file a direct appeal, or any
kind of collateral attack challenging the guilty plea, conviction, or sentence,
based on any immigration consequences of the guilty plea or sentence.

Other Provisions

This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities.
If requested to do so, however, this Office will bring this agreement to the
attention of other prosecuting offices.

This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against Gleaton. So
this agreement does not prohibit the United States, any agency thereof
(including the Internal Revenue Service and Immigration and Customs

Enforcement) or any third party from initiating or prosecuting any civil or
administrative proceeding against him.

No provision of this agreement shall preclude Gleaton from pursuing in
an appropriate forum, when permitted by law, a claim that he received
constitutionally ineffective assistance of counsel.
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No Other Promises

This agreement constitutes the entire plea agreement between Gleaton
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

Very truly yours,
PHILIP R. SELLINGER

United States Attorney

/s/ Christopher Feil
By: Christopher Fell
Assistant U.S. Attorney

APPROVED:

SAMANTHA C. FASANELLO
Chief, Narcotics/OCDETF Unit

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I have received this letter from my attorney, Roy B. Greenman, Esq. I
have read it. My attorney and I have reviewed and discussed it and ali of its
provisions, including those addressing the charge, sentencing, stipulations
(including the attached Schedule A), waiver, forfeiture, and immigration
consequences. I understand this letter fully and am satisfied with my
counsel’s explanations. I accept its terms and conditions and acknowledge
that it constitutes the plea agreement between the parties. I understand that
no additional promises, agreements, or conditions have been made or will be
made unless set forth in writing and signed by the parties. I want to plead
guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:

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Rahmir Gleaton

I have reviewed and discussed with my client this plea agreement and all
of its provisions, including those addressing the charge, sentencing,
stipulations (including the attached Schedule A), waiver, forfeiture, and

immigration consequences. My client understands this plea agreement fully
and wants to plead guilty pursuant to it.

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Roy B. Greenman, Esq.
Counsel for Defendant

Date; 4 17 | rs

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Plea Agreement with Rahmir Gleaton

Schedule A

ks This Office and Rahmir Gleaton recognize that the United States
Sentencing Guidelines do not bind the sentencing judge. Each party
nevertheless agrees to these stipulations.

2s The version of the Guidelines effective November 1, 2024 applies in
this case.

3. The applicable guideline is U.S.S.G. § 2K2.1. This guideline carries
a Base Offense Level of 14. See U.S.S.G. § 2K2.1(a)(6).

4, Because one of the firearms involved in the offense had an

obliterated serial number, there is an increase of 4 levels. See U.S.S.G. §
2K2,1(b)(4).

5. As of the date of this letter, Gleaton has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the
offense/offenses charged. Therefore, a downward adjustment of 2 levels for
acceptance of responsibility is appropriate if Gleaton’s acceptance of

responsibility continues through the date of sentencing. See U.S.S.G. §
3E1.1(a).

6. As of the date of this letter, Gleaton has assisted authorities in the
investigation or prosecution of his/her own misconduct by timely notifying
authorities of his/her intention to enter a plea of guilty, thereby permitting this
Office to avoid preparing for trial and permitting this Office and the court to
allocate their resources efficiently. At sentencing, this Office will move for a
further 1-point reduction in Gleaton’s offense level pursuant to U.S.S.G. §
3E1.1(b) if the following conditions are met: (a) Gleaton enters a plea pursuant
to this agreement, (b) this Office, in its discretion, determines that Gleaton’s
acceptance of responsibility has continued through the date of sentencing and
Gleaton therefore qualifies for a 2-point reduction for acceptance of
responsibility pursuant to U.S.S.G. § 3E1.1(a), and (c) Gleaton’s offense level
under the Guidelines prior to the operation of § 3E1.1(a) is 16 or greater.

7. Accordingly, the parties agree that the total offense level (the “Total
Offense Level”) applicable to Gleaton is 15.

8. The parties agree not to advocate for any upward or downward
adjustment or departure from the Guidelines range resulting from {a) the Total
Offense Level and (b) the criminal history category that the sentencing judge
applies under Chapter 4 of the Guidelines without any departure or variance.

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But each party may seek a variance from that Guidelines range, which the
other party may oppose.

9. Ifthe term of imprisonment does not exceed 24 months, and
except as specified in the next paragraph below, Gleaton will not challenge or
seek to reduce by any means any component of the sentence imposed by the
sentencing judge for any reason other than ineffective assistance of counsel.
The term “any means” includes a direct appeal under 18 U.S.C. § 3742 or 28
U.S.C. § 1291, a motion to vacate the sentence under 28 U.S.C. § 2255, a
motion to reduce the term of imprisonment under 18 U.S.C. § 3582(c)(1)(B) or
(c)(2), a motion for early termination of supervised release under 18 U.S.C. §
3583(e)(1), and any other appeal, motion, petition, or writ, however captioned,
that seeks to attack or modify any component of the sentence. If the term of
imprisonment is at least 18 months, this Office will not challenge by appeal,
motion, or writ any component of the sentence imposed by the sentencing
judge. The provisions of this paragraph bind the parties even if the sentencing
judge employs a Guidelines analysis different from the one above.

10. Both parties reserve the right to file or to oppose any appeal,
collateral attack, writ or motion not barred by the preceding paragraph or any
other provision of this plea agreement. Moreover, the preceding paragraph does

not apply to:

(a) Any proceeding to revoke the term of supervised release.

(b) A motion to reduce the term of imprisonment under 18
U.S.C. § 3582(c}(1)(A).

(c) An appeal from the denial of a § 3582(c)(1)(A) motion on the
grounds that the court erred in finding no extraordinary and
compelling circumstances warranting a reduced term of
imprisonment or that the court failed to consider those
circumstances as a discretionary matter under the
applicable factors of 18 U.S.C. § 3553 (a).
